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          U N I T E D S TAT E S D I S T R I C T C O U RT
      M I D D L E D I S T R I C T O F P E N N S Y L VA N I A


William C. Toth Jr., et al.

                    Plaintiffs,
                                          Case No. 1:22-cv-00208-JPW
v.

Leigh M. Chapman, et al.,

                    Defendants


                         NOTICE OF APPEAL
     William C. Toth Jr., William J. Hall, Howard Gartland, James Bognet,

Aaron Bashir, and Alan M. Hall appeal to the Supreme Court of the United

States from this Court’s order of February 25, 2022, denying the plaintiffs’
request for immediate injunctive relief (ECF No. 43).

                                       Respectfully submitted.

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                    CERTIFICATE OF SERVICE
   I certify that on February 28, 2022, I filed this document on CM/ECF,

which will effectuate service upon the following counsel of record:

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